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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8   UNITED STATES OF AMERICA,                            NO. MJ12-78
 9
                                   Plaintiff,
10
            v.                                            DETENTION ORDER
11
     LAURA DOWNEY,
12
                                   Defendant.
13

14

15   Offenses charged:
16          Counts 1-4: Healthcare Fraud, in violation of 18 U.S.C. §§ 1347 and 2
17
            Count 5:     Aggravated Identity Theft, in violation of 18 U.S.C. § 1028(a)
18
            Count 7:     Conspiracy to Acquire a Controlled Substance by Fraud, in violation of 21
19                       U.S.C. §§ 843(a)(3) and 846

20   Date of Detention Hearing: May 8, 2012
21          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

22   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

23          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
24          1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
25                  defendant is a flight risk and a danger to the community based on the nature of
26                  the pending charges. Application of the presumption is appropriate in this case.


     DETENTION ORDER
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           2.    Defendant has a history of failures to appear.
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           3.    Defendant has substance abuse and mental health issues.
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           4.    Defendant made false statements in a prior detention hearing.
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           5.    Defendant poses a risk of obstruction of justice if released.
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           6.    There are no conditions or combination of conditions other than detention that
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                 will reasonably assure the appearance of defendant as required or ensure the
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                 safety of the community.
 8
           IT IS THEREFORE ORDERED:
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           (1)   Defendant shall be detained and shall be committed to the custody of the
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                 Attorney General for confinement in a correction facility separate, to the extent
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                 practicable, from persons awaiting or serving sentences or being held in custody
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                 pending appeal;
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           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
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                 counsel;
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           (3)   On order of a court of the United States or on request of an attorney for the
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                 government, the person in charge of the corrections facility in which defendant
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                 is confined shall deliver the defendant to a United States Marshal for the
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                 purpose of an appearance in connection with a court proceeding; and
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           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
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                 counsel for the defendant, to the United States Marshal, and to the United States
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                 Pretrial Services Officer.
22
           DATED this 8th day of May, 2012.
23

24                                              A
                                                JAMES P. DONOHUE
25                                              United States Magistrate Judge
26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
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